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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                             NORTHERN DIVISION

BETHANY DRUCE,                            )
                                          )
           Plaintiff,                     )
                                          )
      v.                                  )       Case No. 2:20-CV-16 NAB
                                          )
THE KRAFT HEINZ COMPANY,                  )
                                          )
           Defendant.                     )


                           MEMORANDUM AND ORDER

       On October 25, 2021, the Parties’ request for a discovery conference was
called and heard on the positions presented in the Parties’ joint memorandum
regarding Plaintiff Bethany Druce’s Request for Production of Documents and the
certified portions of the transcript of Ms. Kristen Thomure’s deposition. (Doc. 45.)
The undersigned made rulings on the record, and the parties submitted a proposed
order memorializing the Court’s rulings as follows:

I.         QUESTIONS CERTIFIED IN THE THOMURE DEPOSITION

Defendant's objections are overruled and Thomure shall answer the questions that
have been certified.

II.        PLAINTIFF'S REQUEST FOR PRODUCTION OF DOCUMENTS

REQUEST FOR PRODUCTION NO. 5:
All emails between Michael Sieve and Kristen Thomure related to the treatment of
employees in the Ready to Eat Department.

RULING:
Defendant's objections are sustained in part and overruled in part. Defendant shall
produce emails from Michael Sieve to Kristen Thomure related to discrimination
and disparate treatment in the Ready to Eat Department.

REQUEST FOR PRODUCTION NO. 6:
From January 1, 2016, to the present, each Charge of Discrimination filed against
Defendant alleging race discrimination or retaliation and each position statement
filed by Defendant related to such charges filed against Defendant Kraft due to issues
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specifically at the plant in Kirksville, MO.

RULING:
Defendant's objections are sustained in part and overruled in part. Charges of
Discrimination filed during the period of January 1, 2016 to July 28, 2019 that
include claims of discrimination or retaliation in the Ready to Eat department and
position statements related to each Charge shall be produced by Defendant.
Defendant shall also produce Charges of Discrimination filed during the period of
July 29, 2019 through present that include claims of discrimination or retaliation by
Megan Gregory.

REQUEST FOR PRODUCTION NO. 10:
All documents or communications (for example, memos, emails, text messages,
Facebook Messenger messages) made or received by the Defendant Kraft HR
Department or any supervisor regarding Plaintiff, her discharge, and her complaints
about Ms. Brantner’s behavior.

RULING:
Defendant's objections are overruled.

REQUEST FOR PRODUCTION NO. 11:
Austin Berry’s HR file including documents related to why he was terminated.

RULING: Defendant's objections are sustained.

REQUEST FOR PRODUCTION NO. 12:
Anna Lippincott’s HR file, including documents related to why she was terminated.

RULING:
Defendant's objections are sustained in part and overruled in part. The personnel
file is to be produced but limited to documents related to violations of company
policy, discipline, attendance, and reasons for her discharge.

REQUEST FOR PRODUCTION NO. 13:
Joshua Pearson’s HR file, including documents related to why he was terminated.

RULING: Defendant's objections are sustained in part and overruled in part. The
personnel file is to be produced but limited to documents related to violations of
company policy, discipline, attendance, and reasons for his discharge.

REQUEST FOR PRODUCTION NO. 14:
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Joshua Pearson’s attendance history at the Kirksville, MO plant.

RULING: Defendant’s objections are overruled.

REQUEST FOR PRODUCTION NO. 18:
From January 1, 2016 to the present, a copy of each complaint of racial
discrimination or retaliation made by employees at the Kraft plant in Kirksville, MO
and what action was taken by the Human Resources Department regarding those
complaints.

RULING:
Defendant's objections are sustained in part and overruled in part. Defendant shall
produce internal complaints of racial discrimination or retaliation made by
employees in the Ready to Eat department during the period of January 1, 2016 to
July 28, 2019, and any action that was taken by the Human Resources Department
regarding those complaints. Defendant shall also produce internal complaints of
racial discrimination or retaliation by Megan Gregory that were submitted by
employees in the Kirksville plant during the period of July 29, 2019 through present,
and the action that was taken by the Human Resources Department regarding those
complaints.

REQUEST FOR PRODUCTION NO. 19:
From January 1, 2016, to the present, a copy of each complaint of harassment made
by employees at the Kraft plant in Kirksville, MO and what action was taken by the
Human Resources Department.

RULING:
Defendant's objections are sustained in part and overruled in part. Defendant shall
produce internal complaints of alleged harassment submitted by employees in the
Ready to Eat department during the period of January 1, 2016 to July 28, 2019, and
the action that was taken by the Human Resources Department regarding those
complaints. Defendant shall also produce internal complaints of alleged harassment
by Megan Gregory that were submitted by employees in the Kirksville plant during
the period of July 29, 2019 through present, and the action was taken by the Human
Resources Department regarding those complaints.

REQUEST FOR PRODUCTION NO. 21:
Plaintiff requests an inspection of the Kirksville plant where Plaintiff worked for
purposes of documenting the places where Plaintiff worked and where the incidents
occurred described in Plaintiff’s Charge and Complaint.
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RULING: Defendant's objections are sustained in part and overruled in part. In lieu
of an onsite inspection, Defendant will produce a floor plan or map that shows the
areas where Plaintiff worked in the Ready to Eat Department.


SO ORDERED.



                                         NANNETTE A. BAKER
                                         UNITED STATES MAGISTRATE JUDGE

Dated this 29th day of October, 2021.
